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                               CASE NO .24-CR-20456-R

UM TED STATES OF AM ERW A                              moJ3->G rkoms,$-+* #'*
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                                  PLE A A G R EEM E N T

       TheUnitedStatesAttorney'sOftkefortheSouthem DistrictofFlorida('GthisOfficef'land
AlfredL.Davis(hereinafterreferredtoasthe'tdefendanf')enterintothefollowingagreement:
       1. Thedefendantagreestoplead guiltytoCount3 ofthelndictm ent,whichcountcharges

the defendantwith wire fraud,in violation ofTitle 18,United SGtesCode,Section 1343. This

Officeagreesto seek the dismissalofallrem aining countsaftersentencing.

           Thedefendantisawarethatthesentencewillbeim posedbytheCourtafterconsidering

the advisory Federal Sentencing Guidelines and Policy Statements (hereinaher ttsentencing
Guidelines''). The defendantacknowledges and understands thatthe Courtwillcompute an
advisory sentence under the Sentencing Guidelines and thatthe applicable guidelines willbe

detenninedbytheCourtrelying in partontheresultsofapre-sentenceinvestigation by theCourt's

probation om ce,which investigation willcom mence aftertheguilty plea hasbeen entered. The

 defendantisalso awarethat,undercertain circumsu nces,theCourtm ay departfrom theadvisory'

 sentencing guideline range thatithas computed,and may raise or lowerthatadvisory sentence

 undertheSentencingGuidelines. Thedefendantisfurtherawareand understandsthatthe Court

 isrequired to considerthe advisory guideline range detennined underthe Sentencing Guidelines,
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butisnotbound to impose a sentence within thatadvisory range;the Courtisperm itted to tailor

the ultim ate sentence in lightofotherstatutory concerns,and such sentence may be eitherm ore

severe orless severethan the Sentencing Guidelines'advisory range. Knowing thest facts,the

defendantunderstandsand acknowledgesthatthe Courthastheauthorityto impose any sentence

within and up to the statutory maxim um authorized by law fortheoffense identified in paragraph

1and thatthedefendantmay notwithdraw the plea solely asaresultofthesentenceim posed.

           The defendant also underste
                                     m ds and acknowledges that the Court may impose a

statutory m aximum term ofimprisonm entof up to 20 years,followed by a term of supervised

release ofup to 3years. ln addition to aterm ofim prisonmentand supervised release,the Court

may imposeafine ofup to $250,000 and m ay orderforfeitureand restitution.
           The defendantfurtherunderstandsand acknowledgesthat,in addition to any sentence
imposed under paragraph 2 of this agreement, a special assessm ent in the amount of

$100 willbe imposed on the defendant. The defendant agrees that any special% sessm ent
imposed shallbe paid atthe tim e ofsentencing. lfa defendantisfinancially unable to pay the

special% sessm ent,the defendantagrees to presentevidence to this Oftice and the Courtatthe

timeofsentencing asto thereasonsforthedefendant'sfailureto pay.

       5. ThisOffice reservesthe rightto inform the Courtand theprobation ofticeofa1lfacts

pertinent to the sentencing processaincluding allrelevant inform ation concerning the offenses

com mitted,whether charged or not,as wellas concerning the defendant and the defendant's

background. Subjectonlytotheexpresstermsofanyagreed-uponsentencingrecommendations
contained in thisagreem ent,thisOfficefurtherreservestherightto makeany recomm endation as

to the quality and quantity ofpunishment.


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           ThisOftk eagreesthatitwillrecomm end atsentencing thatthe Courtreduce by two

levelsthe sentencing guideline levelapplicable to the defendant's oflknse,pursuantto Section

3E1.1(a)ofthe Sentencing Guidelines,based upon thedefendant'srecognition and affirmative
and tim ely acceptance ofpersonalresponsibility. ThisOffice,however,willnotbe required to

make these recommendationsifthe defendant:(1)failsorrefusesto make afull,accurateand
com plete disclosure to the probation office ofthe circum stances surrounding the relevantoffense

conduct;(2)isfoundtohavemisrepresentedfactstothegovernmentpriortoenteringintothisplea
agreementy
         'or(3)commitsanymisconductafterentering intothispleaagreement,includingbut
notlim ited to com m itting a state orfederaloffense,violating any tenn ofrelease,orm aking false

statem entsorm isrepresenGtions to any governm enG lentity orofficial.

           The defendantrecognizesthatpleading guilty may have consequenceswith respectto

thedefendant'sim migration status ifthe defendantisnota citizen ofthe United States. Under

federallaw,a broad range of crim es are removable offenses,including the offense to which

defendantispleading guilty.Removaland otherimmigration consequencesarethesubjectofa
separate proceeding, however, and the defendant understands that no one, including the

defendant'sattorney ortheCourt,canpredicttoacertaintytheeffectofthedefendant'sconviction

on the defendant's immigration status. The defendantnevertheless affirms thatthe defendant

wantsto plead guilty regardlessofany im migration consequencesthatthe defendant'splea may

entail,even iftheconsequence isthedefendant'sautomaticremovalfrom the United Sltes.

       8. The defendant is aw are thatthe sentence his notyet been determ ined by the Court.

Thedefendantalsoisawarethatany estim ateoftheprobablesentencing rangeorsentencethatthe

defendantmay receive,whetherthatestimatecomesfrom the defendant'sattorney,thisOftk e,or
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theprobation oftk e,isaprediction,notaprom ise,and isnotbinding onthisOftk e,theprobation

om ceorthe Court.The defendantunderstandsfurtherthatany recom mendation thatthisOffice

makestotheCourtasto sentencing,whetherpursuanttothisagreem entorotherwise,isnotbinding

on the Courtand the Courtmay disregard the recomm endation in its entirety. The defendant

understands and acknowledges thatthe defendantm ay notwithdraw his plea based upon the

Court'sdecision notto acceptasentencing recom mendation made by the defendant,thisOftk e,

orarecommendationmadejointlybythedefendantandthisOflke.
       9. The defendantisaware thatTitle 18,United StatesCode,Section 3742 and Title 28,

United StatesCode,Section 1291affordthedefendantthe rightto appealthesentenceimposed in

thiscase. Acknowledging this,in exchange forthe undertakings made by the United States in

thisplea agreem ent,the defendanthereby waivesallrightsconferred by Sections3742 and 1291

to appealany sentence im posed,including any restitution order,orto appealthe mannerin which

thesentencewasim posed,unlessthe sentenceexceedsthem axim um permittedby statuteoristhe

resultofan upward departure and/oran upward variance from theadvisory guideline range that

the Court establishes at sentencing. The defendant further understands that nothing in this

agreem entshallaffectthe government'srightand/ordutyto appealassetforth in Title 18,United

StatesCode,Section37424b)and Title28,United StatesCode,Section 1291. However,ifthe
United Sutes appeals the defendant's sentence pursuantto Sections 3742(b)and 1291,the
defendantshallbereleased from theabovewaiverofappellaterights. By signing this agreem ent,

the defendantacknowledgesthatthe defendanthasdiscussed the appealwaiversetforth in this

agreem entwith the defendant'sattorney. Thedefendantfurtheragrees,togetherwiththisOffice,




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to requestthattheCourtentera specifictinding thatthedefendant'swaiverofhisrightto appeal

the sentence imposed in thiscasewasknowing and voluntary.




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                         U M TED STA TES DISTRICT CO UR T
                         SOUTHERN DISTW CT OF FLORIDA

                              CASE NO.24-CR-20456-.18

UMTEDSTATESOFAMEmCA                                   X oko.a V           t'/uop'f''
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A LFRED L.D AV IS,

                           D efendant.
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                                   FA CTU A L BASIS

      TheUnited StatesofAmericaandtheDefendantAlfredL.Davis(*'Davis'')agreethathad
thiscaseproceededtotrial,theUnited Stateswouldprovebeyondareasonabledoubtthefollowing

facts,among others,which occurred in the Southem DistrictofFlorida,and elsewhere.

             BetweenJuneandAugust2023,Davisengaged inaschem eto defraudby applying

forHomeEquityLinesofCredit(tûHELOCs'')againstapropertylocatedat20031NW 12thCourt,
M iami,Florida(thetûproperty').
      2.     Davis subm itled applications forHELOCSto atlemstfive lenders,including U S

Bank,PN C Bank,Figure Lending LLC,A ven Financiallnc.,and Low erLLC .

             On June 6,2023,Davis submitted a HELOC application, in the approxim ate

amountof$350,000 toU .S.Bank.
      4.     On June 30,2023,Davissubmitted a HELOC application to LowerLLC,in the

approximateam ountof$350,000.

       5.    On July 8,2023,Davissubm itted aHELOC applicationtoFigureLendingLLC,in
theappro                              - G'u ee L.
                                                em Wx-vg DLC-fbé 9fj'* X 67
        ximateamountof$400,000.            j
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              On July 11,2023,D avis falsely and fraudulently represented to Figure Lending

LLC thattheproperty wasfree and clearoflegalencumbrances,mortgages,and liens.

              Thisrepresentationcausedawiretransm issionfrom theSouthernDistrictofFlorida

to outside the StateofFlorida.

              On July 26,2023,D avis falsely and fraudulently represented to LowerLLC that

theproperty had no priorm ortgages,and thatDavishad notbeen issued creditby FigureLending

LLC.

       9.     Davis used the funds from the H ELOCS for personal expenses, including cmsh

withdrawals,cashier'scheckspayabletohim self,andpaym entsto fam ily m embersandassociates.
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       10. Thisistheentireagreem entand understandingbetweenthisOfficeandthedefendant
                                                                                    .



Thtre are no otheragreem ents,prom ises, representations,orunderstandings.


                                     SW O R N O A T H
Date: S 7 3-5                      By: '''
                                            F     L.DAVIS
                                          DEFEN D AN T
      Case 1:24-cr-20456-JB Document 58 Entered on FLSD Docket 05/08/2025 Page 9 of 17


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Case 1:24-cr-20456-JB Document 58 Entered on FLSD Docket 05/08/2025 Page 15 of 17
Case 1:24-cv-23O15-SC Docttlnellt23 Elltered On FLSD Docket09/23/2024 Pago 1 Of1


                         UNITED STATES DISTRICT COURT
                         SO UTHERN DISTRICT OF FLO RIDA
                         CASE NO.24-23Q15-CV-W ILLIAMS
 MACK W ELLS,etal.

         Plaintiffs.
 V.

 U.S.BANK N.A..eta/.,

         Defendants.
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                 ORQER RECSI:ING JUDG E AN9 REASSIGNING çlse
       The undersigned District Judge. to whom the above-styled case has been
 assigned.recuses hefselfand refers the case to the Clerk ofCoud forreassignm ent
 pursuantto 28 U.S.C.j455.
         DO NE AND O RDERED in Cham bers in M iami, Florida,this 23rd day ofAugust,
 2024.



                                                   KATHLE        M .W ILLIAMS
                                                   UNITED       ATES DISTRICT JUDG E
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        $n accordance with the LocalRules forthe Southern DistrictofFlofida, providing
 for the random and equalallotm entof cases. this cause is hereby reassigned to the
 calendarofUnited States DistrictJudge SheriChappell                    .




       AIldocuments forfiling in this case shallcarry the following case number and
 designation: 24-23015-CV-Chappell             .



       By OrderofCourtthis 23 dayof Septem bej2024          .




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Case 1:24-cr-20456-JB Document 58 Entered on FLSD Docket 05/08/2025 Page 16 of 17
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     Case 1:24-cr-20456-JB Document 58 Entered on FLSD Docket 05/08/2025 Page 17 of 17




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